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                                                                                               Filed: 8/20/2021 3:06 PM
                                                                                                                   Clerk
                                           Grant Circuit Court                                   Grant County, Indiana




STATE OF INDIANA               )               IN THE GRANT COUNTY CIRCUIT COURT
                               ) SS:
GRANT COUNTY                   )               CAUSE NO: 27C01-2108-C___-_____________

CHLOE L. PARKER, by her Guardian,                                )   27C01-2108-CT-000049
MARC PARKER,                                                     )
51663 Stoneham Way,                                              )
Granger, IN 46530,                                               )
                                                                 )
               Plaintiff,                                        )
                                                                 )
       v.                                                        )
                                                                 )
COMMUNITY ALTERNATIVES INDIANA, INC.,                            )
c/o Corporation Service Company, Registered Agent,               )
135 North Pennsylvania Street, Suite 1610,                       )
Indianapolis, IN 46204,                                          )
and                                                              )
RES-CARE INC,                                                    )
c/o Corporation Service Company, Registered Agent,               )
135 North Pennsylvania Street, Suite 1610,                       )
Indianapolis, IN 46204,                                          )
                                                                 )
               Defendants.                                       )

                                COMPLAINT FOR DAMAGES

       Comes now the Plaintiff, Chloe L. Parker, by her Guardian, Marc Parker, by counsel,

Douglas E. Sakaguchi of Pfeifer, Morgan & Stesiak, and for her claim for relief, states the following:

       1.      On or about the 10th day of January, 2021, in Marion, Grant County, Indiana, the

Plaintiff, Chloe L. Parker, was a resident at a Group Home, located at 221 N. Washington Street in

Marion, Grant County, Indiana.

       2.      At all relevant times, the Group Home was owned, operated, maintained and/or

controlled by the Defendant, Res-Care Inc and/or the Defendant, Community Alternatives Indiana,

Inc.
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          3.   While a resident at the Defendants' Group Home, the Plaintiff, Chloe L. Parker, was

subjected to non-consensual sexual touching and intercourse, which was committed by another

resident at the Defendants' Group Home.

          4.   The resident who committed the inappropriate contact is identified in subsequent

investigative reports as "Client 4" and will be called the same herein.

          5.   The Defendants, Res-Care Inc and Community Alternatives Indiana, Inc., owed a

duty of reasonable care to its customers, invitees and residents, including the Plaintiff, Chloe L.

Parker.

          6.   The Defendants, Res-Care Inc and Community Alternatives Indiana, Inc., by its

employees and/or agents, created an environment and opportunity that allowed Client 4 to commit

inappropriate acts against the Plaintiff, Chloe L. Parker, which is a failure to use reasonable care.

          7.   The Defendants, Res-Care Inc and Community Alternatives Indiana, Inc., by its

employees and/or agents failed to use reasonable care to provide adequate supervision and a safe

environment for the Plaintiff, Chloe L. Parker.

          8.   The Defendants, Res-Care Inc and Community Alternatives Indiana, Inc., by its

employees and/or agents had prior knowledge, actual or constructive, of Client 4's propensity to

commit such wrongful acts and failed to take reasonable measures to protect the Plaintiff, Chloe L.

Parker, from those wrongful acts.

          9.   As a direct and proximate result of the carelessness and negligence of the Defendants,

Res-Care Inc and Community Alternatives Indiana, Inc., the Plaintiff, Chloe L. Parker, sustained

personal injuries and emotional distress, the effects of which may be permanent and lasting, has

experienced pain and suffering and may continue to experience pain and suffering in the future, all

of which damages are in an amount yet uncertain.
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       WHEREFORE, the Plaintiff, Chloe L. Parker, by her Guardian, Marc Parker, by counsel,

requests judgment against the Defendants, Res-Care Inc and Community Alternatives Indiana, Inc.,

in an amount that will adequately compensate her for her loss, for costs of this action and for all

other just and proper relief.

                                              Respectfully submitted:


                                             /s/ Douglas E. Sakaguchi
                                             Douglas E. Sakaguchi (20352-71)
                                             Attorney for Plaintiff.
                                             PFEIFER, MORGAN & STESIAK
                                             53600 North Ironwood Drive
                                             South Bend, Indiana 46635
                                             Telephone: (574) 272-2870

                                        JURY DEMAND

       Plaintiff, by counsel, demand trial by jury.

                                           Respectfully submitted:


                                           /s/ Douglas E. Sakaguchi
                                           Douglas E. Sakaguchi (20352-71)
                                           Attorney for Plaintiff.
                                           PFEIFER, MORGAN & STESIAK
                                           53600 North Ironwood Drive
                                           South Bend, Indiana 46635
                                           Telephone: (574) 272-2870
